  Case 3:07-cr-00216-CCC        Document 23       Filed 06/13/07    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 07-0216CCC
 1) LORNA YEAMPIERRE ADORNO
 2) GLADYS ROSARIO SANTEL
 3) TERESA FERNANDEZ-MALDONADO
 Defendants
                                        ORDER
       Having considered the Report and Recommendation filed on June 8, 2007 (docket
entry 20) on a Rule 11 proceeding of co-defendant Lorna Yeampierre-Adorno held before
Magistrate Judge Camille Velez-Rive on May 30, 2007, to which no opposition has been filed,
the same is APPROVED. Accordingly, the plea of guilty of co-defendant Lorna Yeampierre-
Adorno is accepted. The Court FINDS that her plea was voluntary and intelligently entered
with awareness of her rights and the consequences of pleading guilty and contain all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since May 30, 2007. The sentencing hearing is set for August 30,
2007 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 13, 2007.




                                                 S/CARMEN CONSUELO CEREZO
                                                   United States District Judge
